

People v Faeth (2018 NY Slip Op 00783)





People v Faeth


2018 NY Slip Op 00783


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018

PRESENT: WHALEN, P.J., DEJOSEPH, NEMOYER, CURRAN, AND TROUTMAN, JJ. (Filed Feb. 2, 2018.) 


MOTION NO. (1122/02) KA 00-01303.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCHRISTOPHER T. FAETH, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








